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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF GEORGIA
                                   WAYCROSS DIVISION

 BRANTLEY COUNTY DEVELOPMENT                       :
 PARTNERS, LLC                                     :
                                                   :
         Plaintiff,                                :
                                                   :
 vs.                                               :       CIVIL ACTION FILE
                                                   :
 BRANTLEY COUNTY, GEORGIA by and                   :       NO. 5:19-CV-00109
 through its Chairman and Members of the           :
 Brantley County Board of Commissioners;           :
 CHRIS “SKIPPER” HARRIS, RANDY                     :
 DAVIDSON, BRIAN HENDRIX, JESSE                    :
 MOBLEY AND RAY GRIFFIN, all in their              :
 individual and official capacities as             :
 Commissioners,                                    :
                                                   :
          Defendants.                              :

   FIRST AMENDMENT TO COMPLAINT FOR LEGAL AND EQUITABLE RELIEF

         NOW COMES Brantley County Development Partners, LLC (“Plaintiff”) and, pursuant to

leave of Court being granted on July 2, 2020 [Doc. No. 44], hereby files this First Amendment to

Complaint for Legal and Equitable Relief. Plaintiff adopts and incorporates herein by reference

all prior claims, allegations, counts, portions, paragraphs, exhibits, and the ad damnum clause of

its Complaint for legal and equitable relief filed on November 26, 2019. [Doc. 1]. Plaintiff amends

its Complaint for legal and equitable relief as follows:

          COUNT VII – VIOLATION OF THE DORMANT COMMERCE CLAUSE
                     OF THE UNITED STATES CONSTITUTION

                                                138.

         Plaintiff incorporates by reference the factual allegations and exhibits in Paragraphs 1

through 137 inclusive above as if set forth verbatim herein.




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                                                 139.

         Solid waste disposal is a matter of national concern and the United States Congress has

expressly addressed this concern in the Solid Waste Disposal Act, 42 U.S.C. § 6903, et seq.

                                                 140.

         Solid waste is an article of interstate commerce and solid waste disposal concerns interstate

commerce.

                                                 141.

         As set forth in detail above, Plaintiff has a constitutionally protected vested property right

to use and develop the Property with solid waste handling facilities and on December 29, 2016,

Plaintiff filed the requisite permit application for the solid waste handling facilities with the

Georgia EPD. [See Exhibit “K”].

                                                 142.

         Plaintiff’s solid waste handling facilities, as sought with its December 29, 2016 application

with the Georgia EPD, will compete in the interstate market for the transfer, transportation,

handling and disposal of solid waste.

                                                 143.

         The solid waste handling facilities sought by Plaintiff will receive, handle and dispose of

solid waste which is generated from outside both Brantley County and the State of Georgia.

Plaintiff’s proposed facility will not receive any hazardous waste.

                                                 144.

         As set forth in detail above, on January 3, 2017, the Defendants, under color of state law,

took the following actions:




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         (1)       Passed a moratorium barring the establishment of any landfill in Brantley County

for 180 days to allow time for Defendants to amend their Zoning Ordinance and their Solid Waste

Management Plan;

         (2)       Took official action to authorize sending a letter to the Georgia EPD opposing

Plaintiff’s solid waste handling facilities; and

         (3)       Took official action instructing Brantley County representatives to cease any

communication or effort with Plaintiff or any other individual or entity where the intent is to

establish a landfill.

                                                   145.

         Defendants have never rescinded their official actions taken on January 3, 2017.

                                                   146.

         On January 6, 2017, acting under color of state law and pursuant to authority by official

action taken by Defendants, County Attorney Deen Strickland, acting as agent of the Defendants,

sent a letter to the Georgia EPD advising that Defendants were “unanimously against” Plaintiff’s

solid waste handling facilities sought with the Georgia EPD permit application and advising the

Georgia EPD that Defendants had passed a moratorium containing their opposition to any landfill

in Brantley County. [See Exhibit “P “].

                                                   147.

         On January 19, 2017, under color of state law, and pursuant to official action taken by

Defendants, Defendants hired outside counsel to stop Plaintiff’s solid waste handling facilities.

                                                   148.

         On June 15, 2017, the Defendants purported to readopt a County-wide zoning ordinance

and, in the process, they purported to downzone the Plaintiff’s Property to the Light Industrial

classification. Under Defendants’ readopted zoning ordinance, landfills are forbidden in the Light
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Industrial zoning category. Under Defendants’ readopted zoning ordinance, landfills are not

permitted anywhere in Brantley County as a matter of right. They may only be allowed in the

Heavy Industrial zoning district with issuance of a special exception. To obtain a special exception

for a landfill, an applicant must meet numerous burdensome and vague regulatory requirements

and Defendants have discretion as to whether those vague regulatory requirements have been met.

                                                149.

         Moreover, there is no land currently zoned within Brantley County to the Heavy Industrial

zoning district which results in no land in Brantley County even being eligible to develop with a

landfill by issuance of a special exception.

                                                150.

         The appearance that landfills are permitted in Brantley County by issuance of a special

exception, as contained in Defendants’ purported readopted zoning ordinance, is a legislative

sleight of hand, an illusion, and mere pretext. Between the onerous and vague regulatory

requirements to obtain a special exception, and perhaps more telling, the absence of Heavy

Industrial zoned land in Brantley County, the County’s purported readopted zoning ordinance, and

its regulations and actions all taken under color of state law, result in a complete and outright ban

on landfills in Brantley County.

                                                151.

         As noted above, the Defendants had a 2006 Solid Waste Management Plan and thereafter

adopted a short-term five year plan in August, 2011 which expired by operation of law and its

terms in 2016, before Plaintiff submitted its application for solid waste handling facilities to

Georgia EPD. But, in January, 2017, Defendants purported to readopt the 2006 Solid Waste

Management Plan and on June 15, 2017, Defendants purported to amend the Solid Waste


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Management Plan.         The Defendants’ 2006 Solid Waste Management Plan, as purportedly

amended, is hereinafter referenced as the “Solid Waste Management Plan”.

                                               152.

          The Defendants’ Solid Waste Management Plan reveals that Brantley County’s landfill

was closed in 1992 and remains under monitoring requirements. All solid waste generated within

Brantley County was sent to two landfills, one in Camden County and one in Charlton County.

All solid waste generated in Brantley County is now sent to landfill in Wayne County. Brantley

County currently has no functioning landfill and it accepts no solid waste from outside Brantley

County.

                                               153.

          The Solid Waste Management Plan impermissibly places a cap on waste disposal at any

new solid waste handling facility based on waste produced only within Brantley County: “Any

new public or private landfill established in the county should be limited in yearly disposal to an

amount no greater than the average amount of waste produced by the County in the preceding three

years”.

                                               154.

          Moreover, the Solid Waste Management Plan forbids solid waste generated from outside

Brantley County from entering Brantley County: “even though Brantley County does not

anticipate opening a new solid waste management facility within its jurisdictional boundary during

this planning period, any future waste disposal facilities, whether landfill or thermal energy, or

other, should be constructed on a size need basis dependent upon waste generated within the

County and its municipalities. Brantley County, due to the many and varied land limitations . . .

must conserve its scarce disposal sites and must limit use of such sites to disposal of waste

generated from only within the County”. [See Exhibit “U”, Doc. 1-21, pp. 5-6].
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                                               155.

         Defendants’ Solid Waste Management Plan also states: “The Governing Entities require

any entity, whether public or private, wishing to site a solid waste management facility within the

jurisdictional boundaries of Brantley County be constructed so as to only serve the disposal

needs of said County”. [Id., p. 14].

                                               156.

         In addition, as described in detail above, the Solid Waste Management Plan attempts to

forbid any solid waste management facility on Plaintiff’s Property by imposing unnecessary,

unconstitutional and burdensome regulations for the sole purpose of erecting insurmountable

barriers to Plaintiff’s receipt of the necessary permit from the Georgia EPD and to otherwise

frustrate and dissuade the Plaintiff from construction and operation of its proposed solid waste

handling facilities. The regulatory actions described in paragraphs 144-156 are referenced as the

“Regulations”.

                                               157.

         On their face and as-applied, the Regulations ban landfills in Brantley County and forbid

the importation of any solid waste generated from outside Brantley County, and outside the State

of Georgia, from entering the County.

                                               158.

         On their face and as-applied, the Regulations forbidding importation of solid waste into

Brantley County impermissibly discriminate against an article of interstate commerce and are

unconstitutional protectionist measures in violation of the dormant Commerce Clause of the

United States Constitution.
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                                                 159.

         The Regulations, on their face and as-applied, discriminate against solid waste generated

outside Brantley County and outside the State of Georgia by banning landfills and forbidding the

importation of such solid waste into the County.

                                                 160.

         Brantley County’s Regulations prohibiting the importation of solid waste, an article of

interstate commerce, is a per se and as-applied violation of the dormant Commerce Clause of the

United States Constitution and must be struck down. See City of Philadelphia v. New Jersey, 437

U.S. 617 (1978); Fort Gratiot Sanitary Landfill v. Michigan Dep’t of Nat. Resources, 504 U.S. 353

(1992); Fulton County v. City of Atlanta, 280 Ga. 353 (2006).

                                                 161.

         Plaintiff’s solid waste handling facilities, as sought with its December 29, 2016 application

with the Georgia EPD, will compete in the interstate market for the transfer, transportation,

handling and disposal of solid waste and will receive, handle and dispose of solid waste which is

generated from outside both Brantley County and the State of Georgia. Plaintiff has standing to

bring claims against Defendants under the Dormant Commerce Clause because Plaintiff is within

the zone of interests to be protected by the Commerce Clause and Plaintiff has suffered, and is

continuing to suffer, economic injury, damage and irreparable harm arising out of Defendants’

actions and enforcement of the Regulations. Implementation and enforcement of the Regulations

will irreparably impair and harm the rights of Plaintiff to engage in the interstate market for the

transfer, transportation, handling and disposal of solid waste.




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                                                162.

         Implementation and enforcement of the Regulations will irreparably harm Plaintiff by

preventing Plaintiff from receiving, handling and disposing of solid waste generated from outside

Brantley County and outside the State of Georgia.

                                                163.

         Implementation and enforcement of the Regulations will impede the interstate flow of, and

discriminate against, solid waste, as an article of commerce, from entering Brantley County.

                                                164.

         Implementation and enforcement of the Regulations will irreparably impair Plaintiff’s

business and ability to contract with market participants located outside Brantley County and

outside the State of Georgia.

                                                165.

         Defendants cannot demonstrate that their Regulations and decisions to forbid all solid

waste generated outside Brantley County and outside the State of Georgia from entering the

County is justified by any valid interest unrelated to economic protectionism and that no non-

discriminatory alternative exists to preserve the County’s interest, if any.

                                                166.

         The Regulations, facially and as-applied, discriminate against Plaintiff as well as all

persons or entities who are engaged in the interstate market for solid waste transportation,

collection, handling and disposal services by preventing solid waste generated outside Brantley

County and outside the State of Georgia from entering the County.




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                                                 167.

         The Defendants’ Regulations violate Plaintiff’s rights to compete in the interstate market

with its solid waste handling facilities.

                                                 168.

         Defendants’ Regulations, both facially and as-applied to Plaintiff and Plaintiff’s Property,

violate the dormant Commerce Clause of the United States Constitution, Article I, Section VIII,

Clause III and 42 U.S.C. § 1983.

                                                 169.

         Plaintiff is entitled to a declaratory judgment finding that the Regulations, facially and as-

applied to Plaintiff and Plaintiff’s Property, are unconstitutional, null and void.

                                                 170.

         Plaintiff is entitled to preliminary and permanent injunctive relief prohibiting the

Defendants’ violation of Plaintiff’s constitutional rights, privileges and immunities and ordering

Defendants to take such actions as are needed or required by the Georgia EPD to complete the

processing of Plaintiff’s application with that agency.

                                                 171.

         Plaintiff is entitled to damages against Defendants for their violations of the dormant

Commerce Clause as determined by the trier of fact pursuant to 42 U.S.C. § 1983 and for an award

of attorney’s fees, costs and expenses against Defendants under 42 U.S.C. § 1988.

                                        RELIEF REQUESTED

         WHEREFORE, Plaintiff prays for the following relief:

         (a)       That Summons and Process issue and that Defendants be served as required by law;




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         (b)       That this Court declare that the Defendants’ actions are unconstitutional under the

                   Takings Clause of the Fifth and Fourteenth Amendments to the U.S. Constitution,

                   and 42 U.S.C. § 1983;

         (c)       That this Court declare that the Defendants’ actions are unconstitutional under the

                   Due Process Clause of the Fourteenth Amendment to the U.S. Constitution, and 42

                   U.S.C. § 1983;

         (d)       That this Court award Plaintiff damages and attorney’s fees, costs and expenses

                   under 42 U.S.C. § 1988;

         (e)       That this Court grant the Plaintiff preliminary and permanent injunctive relief

                   against Defendants’ continuing unconstitutional actions;

         (f)       That this Court award Plaintiff a judgment sufficient to compensate Plaintiff for the

                   taking of private property and damages for the violation of its rights under the Fifth

                   Amendment to the U.S. Constitution, or alternatively, grant Plaintiff preliminary

                   and permanent injunctive relief to stop the taking of, and interference with,

                   Plaintiff’s private property rights under the Fifth Amendment to the U.S.

                   Constitution;




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         (g)       That this Court Declare Plaintiff’s rights and enjoin the further deprivation of

                   Plaintiff’s rights, privileges and immunities by Defendants and order the

                   Defendants to give Plaintiff written confirmation of Plaintiff’s compliance with

                   local land use laws, if any, and written consistency with the Solid Waste

                   Management Plan, if applicable, for presentation to Georgia EPD and to otherwise

                   issue such other certifications, or take other action, for presentation to the Georgia

                   EPD as needed or required by that Agency;

         (h)       That this Court declare that the Defendants have violated Plaintiff’s rights under

                   the First and Fourteenth Amendments to the U.S. Constitution, including but not

                   limited to, the First Amendment right to free speech and to petition government

                   and the Fourteenth Amendment right to due process;

         (i)       That this Court declare that the Land Use Ordinance of Brantley County, Georgia

                   is unconstitutional, illegal, null and void, “per se” and as “applied,” to the Property

                   and that it and Defendants’ actions have resulted in a taking of Plaintiff’s Property

                   without due process of law and in violation of the Georgia Zoning Procedures Act;

         (j)       That this Court declare that the Moratorium dated January 3, 2017 was null and

                   void and violates Plaintiff’s State and Federally guaranteed rights, privileges and

                   immunities to the due process granted to it by the Fourteenth Amendment of the

                   United States Constitution and the Constitution of the State of Georgia, Article I,

                   Section I, Paragraphs I, II, X and Article I, Sections II, I and III;

         (k)       That this Court declare that the Defendants’ amendment and the re-adoption of the

                   Land Use Ordinance and Official Zoning Map and Zoning Decisions unlawfully

                   rezoning the Plaintiff’s Property thereafter to stop the landfill were and are a


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                   violation of Plaintiff’s rights guaranteed by the Fourteenth Amendment of the

                   United States Constitution, Due Process Clause;

         (l)       That this Court declare that the Land Use Ordinance of Brantley County, Georgia

                   is unconstitutional, illegal, null and void facially and as applied to the Property;

         (m)       That this Court declare that Defendants’ action in applying the current zoning

                   classification to the property or enforcing the intervening zoning restriction(s) and

                   refusing to allow Plaintiff to develop the Property as a solid waste handling facility,

                   are all arbitrary, capricious, without rational relationship to any legitimate

                   government purpose and are therefore unconstitutional, void and without legal

                   effect;

         (n)       That in the extent an inverse condemnation remedy exists under Georgia law, that

                   this Court direct Defendants to provide just and adequate compensation for the

                   temporary and/or permanent taking of Plaintiff’s private property rights;

         (o)       That this Court reverse the Defendants’ decision on re-classification of Plaintiff’s

                   Property and the County’s decision on re-adopting and amending the Zoning

                   Ordinance and County Maps as void and unconstitutional;

         (p)       That this Court grant the Plaintiff preliminary and permanent injunctive relief

                   against Defendants’ continuing unconstitutional actions; and

         (q)       That this Court grant such other, further and different relief as it deems just, proper

                   and appropriate under the facts and evidence presented;

         (r)       That Plaintiff have a trial by struck jury of twelve (12) as to all issues so triable and

                   upon special interrogatories in the discretion of the Court.

         (s)       That the Court issue a declaratory judgment that Defendants’ actions set forth

                   above, both facially and as-applied to Plaintiff and Plaintiff’s Property, violate the
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                   Dormant Commerce Clause of the U. S. Constitution, Article I, Section VIII, Clause

                   III, to enjoin the Defendants’ from violating Plaintiff’s constitutional rights,

                   privileges and immunities, to issue mandatory injunctive relief ordering Defendants

                   to take such actions as are needed, appropriate or otherwise required by the Georgia

                   EPD to complete the processing of Plaintiff’s application with that agency,

                   including without limitation, Defendants’ issuance of a letter or letters reaffirming

                   Plaintiff’s compliance with local land use laws, if any, and written consistency with

                   Defendants’ Solid Waste Management Plan, if applicable, for an award of damages

                   under 42 U.S.C. § 1983, and for an award of attorney fees, costs and expenses under

                   42 U.S.C. § 1988.

         This 8th day of July, 2020.



                               [SIGNATURES ON FOLLOWING PAGE]




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                                   Respectfully submitted,

                                   LOVETT LAW GROUP, LLC


                                   By:    /s/ L. Robert Lovett
                                          L. Robert Lovett
                                          Georgia Bar No. 459566
                                          5400 Riverside Drive
                                          Suite 203
                                          Macon, Georgia 31210
                                          (478) 476-4500
                                          bob@LovettLawGroup.com

                                   GILBERT, HARRELL, SUMERFORD &
                                   MARTIN, P.C.


                                   By: ___/s/ Mark D. Johnson_________
                                          Mark D. Johnson
                                          Georgia Bar No. 395041
                                          Post Office Box 190
                                          Brunswick, Georgia 31521-0190
                                          (912) 265-6700

                                   BROWN ROUNTREE PC


                                   By:    /s/ George Rountree
                                          George Rountree
                                          Georgia Bar No. 616205

                                          26 North Main St
                                          Statesboro, Georgia 30458
                                          (912) 489-6900
                                          georgia@br-firm.com

                                   WILSON BROCK & IRBY, L.L.C.

                                   By:    /s/ Kyler L. Wise
                                          Kyler L. Wise
                                          Georgia Bar No. 77128
                                          2849 Paces Ferry Road SE
                                          Suite 700
                                          Atlanta, Georgia 30339
                                          (404) 853-5050
                                          kwise@wbilegal.com
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                                   CERTIFICATE OF SERVICE
         This is to certify that I have this day served a copy of the foregoing pleading via electronic

service through the PACER e-filing system upon Defendants’ counsel of record:

                                           Dana K. Maine
                                         Rachael Slimmon
                                   Freeman Mathis & Gary, LLP
                                  100 Galleria Parkway, Suite 1600
                                      Atlanta, Georgia 30339

         This 8th day of July, 2020.


                                                /s/ Kyler L. Wise
                                                Kyler L. Wise




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